Case 8:11-cv-00485-AG-RAO Document 772 Filed 12/13/17 Page 1 of 3 Page ID #:18737




                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA


                                 CIVIL MINUTES - GENERAL
   Case No.      SACV 11-00485AG (AJWx)                                  Date   December 13, 2017
   Title         LISA LIBERI ET AL. v. ORLY TAITZ ET AL.




   Present: The Honorable       ANDREW J. GUILFORD
             Lisa Bredahl                             Not Present
             Deputy Clerk                      Court Reporter / Recorder              Tape No.
           Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:


   Proceedings:       [IN CHAMBERS] ORDER STRIKING COUNTERCLAIMS
                      AND THIRD PARTY COMPLAINT AND VACATING
                      MOTION TO DISMISS AS MOOT

  This 2009 case continues in chaos, shaped more by personal disputes than coherent legal
  advocacy. On October 13, 2017, the Court set this case for trial in March 2018. The Court
  issues this order to, as much as now possible, move this case along. Fed. R. Civ. P. 1.

  1. DEFENDANT’S “COUNTERCLAIM AND THIRD PARTY COMPLAINT”

  On November 3, 2017, Defendant Orly Taitz and terminated Defendant Defend Our
  Freedoms Foundation, Inc., filed a document titled “Counterclaim and Third Party
  Complaint by Orly Taitz and Defendant Our Freedoms Foundation, Inc.” (Dkt. No. 753.)
  The 63-page document (complete with an additional 58 pages of exhibits) purports to allege
  seven new claims for relief. Defendant Taitz, the only remaining defendant in this case,
  previously filed a separate answer to Plaintiff Lisa Liberi’s complaint. (Dkt. No. 752.)

  The “Counterclaim and Third Party Complaint” is inconsistent with the Court’s previous
  orders concerning this eight-year-old case. The Court allowed Plaintiff Liberi to amend her
  complaint to focus this litigation and to bring order out of chaos. (Dkt. No. 744 at 4–7.)
  Indeed, the Second Amended Complaint asserts only four claims for relief against only one
  defendant, Taitz. (See Dkt. No. 751.) But Defendant Taitz filed her “Counterclaim and Third
                                               CIVIL MINUTES - GENERAL
                                                       Page 1 of 3
Case 8:11-cv-00485-AG-RAO Document 772 Filed 12/13/17 Page 2 of 3 Page ID #:18738




                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA


                                CIVIL MINUTES - GENERAL
   Case No.     SACV 11-00485AG (AJWx)                               Date    December 13, 2017
   Title        LISA LIBERI ET AL. v. ORLY TAITZ ET AL.

  Party Complaint” despite that call to order and with the trial date looming four months away.

  Defendant Taitz’s filing is late, includes claims concerning parties long since dismissed from
  this case, does not comply with Federal Rule of Civil Procedure 13, and was filed without the
  Court’s leave. (See Dkt. No. 227.) For these and other reasons, the Court STRIKES the
  “Counterclaim and Third Party Complaint” (Dkt. No. 753.) The Court also DENIES as
  moot Plaintiff’s motion to dismiss the counterclaim and third party complaint. (Dkt. No.
  767.) The Court VACATES the December 18, 2017 hearing on the motion to dismiss.

  2. LETTER REQUESTS & SETTLEMENT

  Because of the incredible number of filings in this case—now 771 docket entries and
  counting—the Court previously imposed a prefiling restriction, requiring the parties to
  submit letters to the Court requesting leave to file documents. (Dkt. No. 227 at 9–10.) The
  parties have sent the Court numerous letters (at least 18) including various requests and
  cataloging their grievances.

  It appears from several of these letters that both sides are willing to settle this case with help
  from a third party. Indeed, Local Rules 16-15.1 and 16-15.2 require the parties to participate
  in alternative dispute resolution proceedings before going to trial. The Court will take the
  pending letter requests under submission until the parties jointly file a single notice that
  they have, in good faith, conducted settlement discussions before a third party. As provided
  in the Local Rules, the parties may choose to appear before a magistrate judge, before a
  neutral mediator selected from the Court’s Mediation Panel, or before a private mediator.
  L.R. 16-15.4.

  The Court sees no reason why this case shouldn’t settle. Both parties face significant
  uncertainties moving forward. Looming large are the issues of potential sanctions (for both
  sides) and the difficulty a jury might have in slicing through this case’s hazy facts. As the
  Court has observed, “the world is a different place since this case began.” (Dkt. No. 744.)
  Accordingly, the Court encourages the parties to look soberly at what’s at stake in this case,
  including the potentially significant costs of continuing this litigation. Indeed, a mutually
  agreeable solution may leave both parties in a better position than they would be if they
                                           CIVIL MINUTES - GENERAL
                                                   Page 2 of 3
Case 8:11-cv-00485-AG-RAO Document 772 Filed 12/13/17 Page 3 of 3 Page ID #:18739




                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA


                               CIVIL MINUTES - GENERAL
   Case No.    SACV 11-00485AG (AJWx)                               Date   December 13, 2017
   Title        LISA LIBERI ET AL. v. ORLY TAITZ ET AL.

  choose to press on with their haphazard practices in this United States District Court.

  Further, the Court AFFIRMS the March 27, 2018 jury trial date and the February 26, 2018
  pretrial conference date.

                                                                                       :    0
                                                      Initials of          lmb
                                                      Preparer




                                          CIVIL MINUTES - GENERAL
                                                  Page 3 of 3
